
PER CURIAM.
At petitioner’s arraignment, the trial court sua sponte increased petitioner’s bond, because the state filed a notice of intent to seek habitual offender status of the petitioner. The trial court ordered the petitioner in custody and gave his attorney only fifteen minutes to prepare for a bond hearing. Since the trial court did not comply with Florida Rule of Criminal Procedure 3.131(g) and there is no other provision for the trial court to increase a bond, we grant the writ and remand for proceedings consistent with that rule. See Lambert v. State, 151 So.2d 675 (Fla. 1st DCA 1963).
GLICKSTEIN, WARNER and KLEIN, JJ., concur.
